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     ATTORNEYS FOR PLAINTIFFS                           *ADMITTED PRO HAC VICE
 6   RUSSELL FOUTS AND
 7   TAN MIGUEL TOLENTINO
 8
                          IN THE UNITED STATES DISTRICT COURT
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                    FOR THE SOUTHERN DISTRICT OF CALIFORNIA
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13   RUSSELL FOUTS and TAN                             19-cv-01662-BEN-JLB
     MIGUEL TOLENTINO,
14
                                         Plaintiffs,
15                                                     PLAINTIFFS’ MEMORANDUM IN
                   v.                                  SUPPORT OF THEIR MOTION
16                                                     TO STRIKE
17   ROB BONTA, in his official capacity          Judge:              Hon. Roger T. Benitez
     as the Attorney General of the State
18   of California,                               Courtroom:          5A
                                                  Action Filed:       September 1, 2019
19                                     Defendant. Hearing Date:       April 3, 2023 10:30AM
20                                                                    Courtroom 5A
21
        I.      Introduction
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23           Defendant filed a “Supplemental Expert Report and Declaration of Randolph
24   Roth” on February 10, 2023. There are numerous problems with this new “expert.”
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     First, this is the first time Plaintiffs have seen this purported expert, and he has not
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27   been disclosed prior to this filing. Second, this “Supplemental Expert Report”
28   supposedly deals with “the history of homicides and mass murders in the United
                                                    1
                        Plaintiffs’ Memorandum in Support of Their Motion to Strike
                                         (19-cv-01662-BEN-JLB)
 1   States.” ECF #63-1, PageID.1727, ¶1. Third, this appears to be Defendant’s
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     attempt at bolstering (or burdening) the record with extraneous “evidence” to be
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     used on appeal later that does not seem to have any bearing on the matter before the
 4
 5   Court.
 6
              This “Supplemental Expert Report” should be stricken from the record.
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 8      II.      Defendant Violates This Court’s December 15, 2022 Order and This
                 Court’s Scheduling Order
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10            The Parties were supposed to complete “[a]ll expert discovery” by “August

11   14, 2020. ECF # 18. On October 17, 2022, this Court ordered Defendant to file
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     “any additional briefing that is necessary to decide this case in light of Bruen” and
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14   ordered the Plaintiffs to respond “within 21 days thereafter.” ECF # 47.

15            Defendants took that Order and ran with it, filing a 36-page “supplemental
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     brief” (ECF # 51) and three declarations from purported experts: Dennis Baron,
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18   Robert Escobar, and Robert Spitzer. (ECF # 51-1, 51-2, 51-3). Hundreds upon

19   hundreds of pages of materials and declarations were submitted. And because
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     Plaintiffs were then in the unenviable position of having to rebut three
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22   undisclosed/late-disclosed experts, they had to hire their own expert to provide a

23   rebuttal report. ECF # 59-1.
24
              The Court, during its December 12, 2022 hearing, discussed potential
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26   depositions of experts in the other matters this case was heard with on that day, and
27   in this matter as well. The Court then ordered the Defendant to conduct a historical
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                      Plaintiffs’ Memorandum in Support of Their Motion to Strike
                                       (19-cv-01662-BEN-JLB)
 1   survey and file the results. See December 15, 2022 Minute Order. And then,
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     Defendant and Plaintiffs were to file another supplemental brief (and response)
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     upon that historical survey. Id. The parties were also directed to decide if Mr.
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 5   Cramer (Plaintiffs’ rebuttal expert) and curiously, Mr. Roth, who had yet to be
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     discussed as any type of expert in this matter, and as such, was unnecessary to
 7
 8   contemplate as an expert or for a deposition.1

 9         Defendant took the Court’s Order to mean file another expert declaration.
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     Except strangely, Defendant filed an expert declaration, purporting to be a
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12   supplement,2 that was created for an entirely separate matter and that is irrelevant to

13   this case. Mr. Roth was apparently requested “to prepare an expert report providing
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     opinions on the history of homicides and mass murders in the United States.”
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16   PageID.1727. More specifically, he was tasked with paying “special attention to

17   the role that technologies have played in shaping the character and incidences of
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     homicides and mass murders over time, and the historical restrictions that local and
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20
21         1
              It is possible that this is a scriveners’ error in the Court’s December 15,
22   2022 Minute Order, as Mr. Escobar, Mr. Spitzer, and Mr. Baron were the only
     individuals who submitted declarations with the Defendant’s December 1, 2022
23   Supplemental Brief. See Duncan v. Bonta, Minute Order December 12, 2022
24   discussing “deposing Mr. Roth and Mr. Cramer at an agreed place and time”
     because Mr. Roth filed a declaration in that case. See Duncan v. Bonta, 3:17-cv-
25   01017-BEN-JLB, ECF # 118-8. It appears Mr. Roth was tasked with the same
26   issue in that matter. Id. at PageID.8705 (“to provide opinions on the history of
     homicides and mass murders...”). This report was dated November 9, 2022, before
27   Defendant filed his first supplemental brief (ECF # 51) on December 1, 2022 in
28   Fouts.
            2
              No such expert declaration of Roth exists in this case.
                                                 3
                     Plaintiffs’ Memorandum in Support of Their Motion to Strike
                                      (19-cv-01662-BEN-JLB)
 1   federal authorities have imposed in response to new technologies that they deemed
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     particularly lethal, prone to misuse...” and on and on. PageID.1731. This “report”
 3
     was prepared for Rupp, et al. v. Bonta (8:17-cv-00746-JLS-JDE) and is dated
 4
 5   January 6, 2023.
 6
           It is axiomatic that a “district court may exclude irrelevant evidence and any
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 8   relevant evidence whose probative value is substantially outweighed by its potential

 9   to confuse the issues.” United States v. Way, 804 F. App'x 504, 510 (9th Cir.
10
     2020). “Within a district court’s broad discretion ‘lies both the power to exclude or
11
12   admit expert testimony,’ and ‘to exclude testimony of witnesses whose use at trial

13   is in bad faith or would unfairly prejudice an opposing party.’” Amarel v. Connell,
14
     102 F.3d 1494, 1515 (9th Cir. 1996). Mr. Roth’s “Supplemental Expert
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16   Declaration” is 1) not for this case, and 2) irrelevant to the issues presented in this

17   case, and for those reasons, should be struck from the record.
18
           Defendant’s “Supplemental Expert Report and Declaration of Randolph
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20   Roth” is irrelevant to the matter at hand, does not discuss the subject matter of

21   Fouts (billies), and only addresses “clubs” to the extent that: 1) an unloaded musket
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     can be used as a club (Declaration at 11); 2) “like-minded neighbors [could] go on a
23
24   rampage with clubs, knives, nooses, pistols, shotguns, or rifles” to commit mass

25   murder (Declaration at 32); and 3) that “Grand Jurors of Jasper County, Georgia”
26
     pleaded to the state to restrict concealable weapons. Declaration at 17. As such, it
27
28   is simply irrelevant to the subject matter.

                                                 4
                     Plaintiffs’ Memorandum in Support of Their Motion to Strike
                                      (19-cv-01662-BEN-JLB)
 1             Had Defendant wanted to propose Mr. Roth as an expert, he certainly had
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     ample time and opportunity to do so, as evidenced by Mr. Spitzer’s, Mr. Escobar’s,
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     and Mr. Baron’s declarations filed on December 1, 2022 and Mr. Roth’s “expert”
 4
 5   declaration filed in Duncan v. Bonta, 3:17-cv-01017-BEN-JLB, ECF # 118-8. This
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     late attempt at shoehorning yet another declaration into this case is unavailing and
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 8   should not be allowed.

 9             This Court’s Amended Scheduling Order, ECF # 18, provides that “[f]ailure
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     to comply with this section or any other discovery order of the court may result in
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12   the sanctions provided for in Federal Rule of Civil Procedure 37, including a

13   prohibition on the introduction of experts or other designated matters in evidence.”
14
     Because Defendant keeps submitting “experts” way beyond the discovery deadline,
15
16   and because Mr. Roth’s “supplemental” declaration supplements nothing

17   previously filed in this matter, it should be stricken.
18
        III.      Conclusion
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20             This Court should Order the “Supplemental Expert Declaration” of Mr. Roth

21   stricken from the Record.
22
     Dated: February 24, 2023
23
24   /s/ Alan Alexander Beck                     /s/ Stephen D. Stamboulieh
     Alan Alexander Beck                         Stephen D. Stamboulieh
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                       Plaintiffs’ Memorandum in Support of Their Motion to Strike
                                        (19-cv-01662-BEN-JLB)
